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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

    UNITED STATES OF AMERICA,                  :       Case No. 1:20-cr-77
                                               :
    vs.                                        :       Judge Timothy S. Black
                                               :
    MATTHEW BORGES (4),                        :
                                               :
           Defendant.                          :

                        ORDER DENYING DEFENDANT BORGES’
                          MOTION TO COMPEL DISCOVERY

          This criminal case is before the Court on Defendant Matthew Borges’ motion to

compel discovery (Doc. 92) and the parties’ responsive memoranda (Docs. 94, 98).

                                     I. BACKGROUND

          On July 30, 2020, a federal Grand Jury returned a single-count Indictment,

charging Defendant Matthew Borges and five co-defendants with participating in a

Racketeer Influenced and Corrupt Organizations (“RICO”) conspiracy, in violation of 18

U.S.C. § 1962(d). (Doc. 22). To date, three co-defendants—Jeffrey Longstreth, Juan

Cespedes, and Generation Now—have pleaded guilty (Min. Entries, Oct. 29, 2020, Feb.

9, 2021), and Defendant Clark has died (Doc. 88).1 Thus, Defendants Borges and

Householder are the only remaining, unresolved defendants in this case.

          On September 9, 2020, the Court held the preliminary pretrial conference in this

case. (Min. Entry, Sep. 9, 2020). At that time, the parties unanimously agreed that the


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 Defendants Longstreth, Cespedes, and Generation Now are awaiting sentencing (Min. Entries,
Oct. 29, 2020, Feb. 9, 2021). The case as to Defendant Clark was dismissed following his death.
(Doc. 88).
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case was “complex” for purposes of the Speedy Trial Act, and the Court designated the

case as such, noting, inter alia, the voluminous discovery to be produced. (Doc. 74 at 8-

18). And, indeed, despite the Government’s efforts, discovery production continued for

over a year thereafter, and the defendants have repeatedly sought continuances in this

case in order to afford them adequate time to review the ongoing, voluminous discovery.

(See, e.g., Min. Entries, Jun. 10, 2021, Sep. 2, 2021, Oct. 5, 2021).

          As to Defendant Borges in particular, the Government represents that, as of

November 2021, it has “produced more than 1.5 million pages of discovery, recordings,

copies of [Defendant Borges’] device, and copies of co-defendant[s’] iCloud accounts

and devices.” (Doc. 94 at 3). The Government states, however, that on April 16, 2021

and June 7, 2021, Defendant sought additional discovery pursuant to Fed. R. Crim. P.

16(a)(1)(E) and Brady v. Maryland, including “all statements or summaries of statements

from individuals relating to 55 different topics … based on a belief that certain

individuals ‘would confirm’ 44 of the topics.” (Id. at 2-3).2 In response, the Government

advised Defendant that it was aware of and would comply with its discovery obligations,

but that certain items sought were specifically excluded from production pursuant to Fed.

R. Crim. P. 16(a)(2) and/or were sought prematurely pursuant to 18 U.S.C. § 3500. (Id.)

The Government states that, on October 15, 2021, Defendant sent another letter

requesting statements from Defendants Cespedes and Longstreth, and that Defendant

filed the instant motion before the Government could respond to the letter. (Id. at 3-4).



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    Defendant identifies the topics specifically in his motion to compel. (Doc. 92 at 4-6).

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        In the instant motion, Defendant moves “to compel the Government to produce

material exculpatory information relating to co-defendants Cespedes and Longstreth…

specifically records of or about statements made by Juan Cespedes and Jeff Longstreth.”

(Doc. 92 at 1-2).3 Defendant argues that the statements sought “will negate his

involvement in, and knowledge of, the alleged conspiracy set forth in the Indictment, and

are not merely impeachment or Giglio materials.” (Id. at 2). In the alternative,

Defendant asks the Court to order the Government to produce the responsive discovery

for the Court’s in camera review. (Id.)

                              II. STANDARD OF REVIEW

        Pursuant to Fed. R. Crim. P. 16(a), upon a defendant’s request, the Government

must produce certain items of discovery, such as the defendant’s oral or written

statements, reports of any physical or mental examinations or scientific tests, and

disclosures relating to anticipated expert witness testimony. Rule 16 also provides that

the Government must allow the defendant to inspect and copy documents and objects, if

the item is within the Government’s possession, custody, or control and: (1) “the item is

material to preparing the defense”; (2) “the government intends to use the item in its

case-in-chief at trial”; or (3) “the item was obtained from or belongs to the defendant.”

Fed. R. Crim. P. 16(a)(1)(E).




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 Defendant specifies that he seeks any form of “statements,” including a witness’s written and
approved statements, oral statements contemporaneously recorded or transcribed, testimony
before the grand jury, as well as “records … such as a government agent’s report that was not
adopted by the witness.” (Doc. 92 at 2, n. 1).

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       In particular, the Government bears certain obligations relating to the disclosure of

material information in discovery, including exculpatory and impeachment evidence.

See, e.g., Brady v. Maryland, 373 U.S. 83 (1963); Giglio v. United States, 405 U.S. 150

(1972). Failure of the Government to provide “evidence favorable to an accused upon

request violates due process where the evidence is material either to guilt or to

punishment, irrespective of the good faith or bad faith of the prosecution.” Brady, 373

U.S. at 87. Moreover, “there are situations in which evidence is obviously of such

substantial value to the defense that elementary fairness requires it to be disclosed even

without a specific request.” United States v. Agurs, 427 U.S. 97, 110 (1976).

       However, Fed. R. Crim. P. 16 “does not authorize the discovery or inspection of

reports, memoranda, or other internal government documents made by an attorney for the

government or other government agent in connection with investigating or prosecuting

the case”; nor does the rule authorize the discovery or inspection of statements made by

prospective government witnesses, except as required under the Jencks Act, i.e., only

after the witness has testified on direct examination at trial. Fed. R. Crim. P. 16(a)(2); 18

U.S.C. § 3500.

       Notably, “[w]hen Brady material sought by a defendant is covered by the Jencks

Act … the terms of [the Jencks] Act govern the timing of the government’s disclosure.”

United States v. Davis, 306 F.3d 398, 421 (6th Cir. 2002) (citing United States v. Bencs,

28 F.3d 555, 561 (6th Cir. 1994)). Indeed, “due process requires only that disclosure of

exculpatory material be made in sufficient time to permit the defendant to make effective

use of that material at trial.” United States v. Farley, 2 F.3d 645, 654 (6th Cir. 1993)


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(citing United States v. Presser, 844 F.2d 1275, 1284 (6th Cir. 1988)). Thus, “[i]f

impeachment evidence is within the ambit of the Jencks Act, then the express provisions

of the Jencks Act control discovery of that kind of evidence … [and] the government may

not be compelled to disclose Jencks Act material before trial.” United States v. Brazil,

395 F. App’x 205, 215 (6th Cir. 2010) (citing Presser, 844 F.2d at 1283) (emphasis

added).

                                     III. ANALYSIS

       Defendant moves to compel the disclosure of any statements made by co-

defendants Juan Cespedes and Jeffrey Longstreth, as well as any reports of their

statements, even where neither co-defendant has adopted or approved the report. (Doc.

92). Notably, Defendant does not dispute that when Brady material is also Jencks

material, the Jencks Act governs the timing of disclosure. (Id. at 8) (citing Davis, 306

F.3d at 421; Brazil, 395 F. App’x at 215). Rather, Defendant argues that his co-

defendants’ statements are material, exculpatory evidence, and thus are not merely

“impeachment Brady” evidence, but more importantly, “exculpatory Brady” evidence.

(Doc. 92 at 8). Defendant asserts that, as “exculpatory Brady” evidence, the statements

sought “may require significant pre-trial investigation, such as identifying and

interviewing additional defense witnesses, identifying relevant and admissible evidence,

and may be relevant to the preparation of additional motions….” (Id.) Accordingly,

Defendant argues that the Government should be required to promptly disclose the

evidence, rather than being permitted to withhold disclosure until trial, under the Jencks

Act. (Id. at 9).


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        As an initial matter, it bears noting that Defendant’s characterization of his co-

defendants’ statements as “material” and “exculpatory” is speculative. That is—

Defendant believes that his co-defendants made statements to negate Defendant’s

involvement in one aspect of the underlying charges. But the Government is only

obligated to produce evidence that is in its control or possession. See Fed. R. Crim. P.

16(a); 18 U.S.C. § 3500(b). Thus, to the extent that Defendant is requesting

“exculpatory” statements that do not exist and/or are not in the Government’s possession,

the Government cannot produce, and does not have an obligation to procure, responsive

discovery.4

        Even assuming, however, that the co-defendants’ statements may be useful to

Defendant, such usefulness does not render the statements “material.” “Materiality

pertains to the issue of guilt or innocence, and not to the defendant’s ability to prepare for

trial.” United States v. Bencs, 28 F.3d 555, 560 (6th Cir. 1994). Indeed, the Supreme

Court has rejected the notion that Brady should encompass evidence useful to the defense

in trial preparation, as such a requirement “would necessarily encompass incriminating

evidence as well as exculpatory evidence, since knowledge of the prosecutor’s entire case

would always be useful in planning the defense.” Agurs, 427 U.S. at 112 n.20. And the


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  As an alternative to compelling immediate disclosure, Defendant asks the Court to review the
statements in camera and determine whether they constitute Brady material. However, because
Defendant only speculates that the statements contain exculpatory information, in camera review
is unwarranted. See Pennsylvania v. Ritchie, 480 U.S. 39, 58, n.15 (1987) (“[the defendant], of
course, may not require the trial court to search through the [discovery] without first establishing
a basis for his claim that it contains material evidence”) (citing United States v. Valenzuela-
Bernal, 458 U.S. 858, 867 (1982)). Additionally, as fully explained, infra, because the Court
finds that the statements are subject to disclosure under Jencks (if at all), an in camera review is
unnecessary.

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Government has no obligation to provide the entirety of its case file in order to facilitate

Defendant’s trial preparation. See id. at 111. Alternatively, given the certainty with

which Defendant asserts that his co-defendants’ statements contain information to negate

his involvement, there should be little to no prejudice in having the defense prepare for

trial absent the specific statements of his co-defendants. Indeed, Defendant seeks

statements related to approximately 45 topics, all of which focus on Defendant’s

knowledge and conduct. Thus, the best source of information on said topics is not his co-

defendants, but rather Defendant himself. And to the extent that his co-defendants’

statements support such a theory, Defendant will either have access to those statements

after the witnesses testify or sooner if the Government does not intend to call them as

witnesses.

       More to the point, however, the resolution of this motion is straightforward. First,

to the extent that Defendant seeks the Government’s reports regarding witness

statements, Rule 16 expressly excludes such disclosure. Fed. R. Crim. P. 16(a)(2). And

as to direct statements prospective witnesses, the law is clear—when it comes to timing

of disclosure, Jencks beats Brady. And while the Court acknowledges Defendant’s

assertion that the evidence is more Brady and less Jencks, there are no degrees of Jencks

exceptions for this Court to consider pretrial. The Court cannot require the Government

to disclose Jencks material prematurely. See 18 U.S.C. § 3500 (“no statement or report in

the possession of the United States which was made by a Government witness or

prospective Government witness (other than the defendant) shall be the subject of




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subpoena, discovery, or inspection until said witness has testified on direct examination

in the trial”).

        That said, this Court typically asks that the Government to voluntarily disclose

such evidence a few weeks in advance of trial, in order to avoid a lengthy mid-trial delay.

And the Government has, in this Court’s experience, always been accommodating in that

regard. Beyond encouraging such a disclosure when the time comes to establish a trial

calendar, the Court can do no more.

                                   IV. CONCLUSION

        The Government has repeatedly represented to Defendant, and now to the Court,

that the Government is aware of its discovery and trial obligations and will abide by

them. Therefore, where, as here, the Government has conceded that it is aware of and has

complied/will continue to comply with its obligations under Rule 16, Brady, Giglio, and

Jencks, compelling pre-trial disclosure of the discovery sought by Defendant Borges is

unwarranted.

        Accordingly, based upon the foregoing, Defendant’s motion to compel discovery

(Doc. 92) is DENIED.

        IT IS SO ORDERED.

Date: 1/25/2022
                                                             Timothy S. Black
                                                             United States District Judge




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